215 F.2d 454
    NATIONAL LABOR RELATIONS BOARD, Petitionerv.MISSISSIPPI LIME COMPANY OF MISSOURI.
    No. 15151.
    United States Court of Appeals, Eighth Circuit.
    Aug. 25, 1954.
    
      Petition for Enforcement of Order of National Labor Relations Board.
      David P. Findling, Associate General Counsel, National Labor Relations Board, and A. Norman Somers, Asst. General Counsel, National Labor Relations Board, Washington, D.C., for petitioner.
      PER CURIAM.
    
    
      1
      Order of National Labor Relations Board enforced, on petition for enforcement and stipulation filed with Board.
    
    